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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

NATIONAL STUDENT LEGAL DEFENSE            )
NETWORK,                                  )
                                          )
            Plaintiff,                    )
                                          )
            vs.                           )                   Civil Action No. 18-1673 (TJK)
                                          )
UNITED STATES DEPARTMENT OF               )
EDUCATION,                                )
                                          )
            Defendant.                    )
_________________________________________ )

                                   JOINT STATUS REPORT

       Pursuant to the Court’s November 20, 2018 Minute Order, the parties, Plaintiff National

Student Legal Defense Network (“NSLDN”) and Defendant U.S. Department of Education

(“ED”), by and through undersigned counsel, file this joint status report1 in this case brought

under the Freedom of Information Act (“FOIA”).

       On March 21, 2018 NSLDN requested:

           •   A copy of every letter of credit currently held by the Department that has been

               posted by, or on behalf of, any institution participating in one or more Title IV,

               HEA programs” (hereinafter “Request 1”); and

           •   A copy of every communication from the Department wherein the Department

               requested or demanded an institution to post a letter of credit that is currently held

               by the Department” (hereinafter “Request 2”).




1       The last deadline for the parties’ Joint Status Report—January 18, 2019—took place
during the partial government shutdown. On January 8, 2019, ED filed a motion to stay the
proceedings [Dkt. 12] until funding had been restored. On January 28, 2019, the Court denied
ED’s motion as moot. The filing of this Joint Status Report follows.
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NSLDN’s FOIA Submission also stated that “[t]o the extent this request is unduly burdensome

on the Department, . . . NSLDN would be willing to accept a detailed log in lieu of the

documents themselves,” as long as the log contained certain information.

       Since the last Joint Status Report in December 2018, and in an effort to prioritize

production, the Department has provided Plaintiff with the five biggest LOCs that it currently

holds (including institution, amount, and when the LOC expires) and one actual copy of a letter

of credit posted by one of these schools. The Department has also confirmed whether it holds

any LOC for Vatterott College.

       The discussions between the parties are ongoing. Accordingly, the parties propose that

they file a further Joint Status Report in 30 days, i.e., on or before March 1, 2019.



Dated: January 30, 2019                       Respectfully submitted,

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